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                               United States District Court                                            ``~~~
                                                                                                        ~~ ~ `~~ ~`
                                                                                                       ~~
                           CENTRAL              DISTRICT OF           CALIFORNIA

            UNITED STATES OF AMERICA
                     v.                                       WARRANT FOR ARREST
                                                                      ON COMPLAINT
            STEPHEN WILLIAM BEAL

                                                               NUMBER:      SA 1 9 ~ ~                          ~~
    To: The United States Marshal or any
        Authorized United States Officer


    YOU ARE HEREBY COMMANDED to arrest                 STEPHEN WILLIAM BEAL
                                                               Name


    and bring him/her forthwith to the new crest Judge/Magistrate Judge to answer a complaint charging him/her
    with Title 18, United States Code, Section 844(i): Malicious Destruction of a Building Resulting in Death.
                                                                                            ~~        N
                                                                                  CA     t— > ...     p
                                                                                  —C     ~t},,.;m     ~
    with Bail fixed at $                                                            ' '               ~c
                           REC: Detention                                          ~T                 ~
                                                                                                           '4I
                                                                                    ~'                 ~
                                                                                                      ~-
                                                                                       y~.
                                                                                                           r~~
                                                                                                             1 ~1
                                                          JOHN D. EARLY                ~~~~~
                                                                                       y._ - ~ ~. i
                                                                                       ma
                                                                                       ~~ ~    ~~     O
    Date:
                                            HONORABLE JOHN D. EARLY        ~r' -- c~a
                                            UNITED STATES MAGISTRATE JU GE +`~'   --i



                                                 RETURN

This warrant was received and executed with the arrest ofthe above-named

defendant at         ~ ~,~~~      ~~~           (..d


DATE   CEIVED         NAME &TITLE OF ARRESTING OFFICER           SIGNATURE OF ARRESTING OFFICER
 ~ ~~                      ~~~ ~~ ~ ~- ~~~fi                                       ~
         /REST
DATE OF AR                    ~~       ^1   ~                         ~~
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              THE FOLLOWING IS FURNISHED FOR INFORMATION ONLY:



l~~~ u~

ALIAS:

LAST KNOWN RESIDENCE:

LAST KNOWN EMPLOYMENT:

PLACE OF BIRTH:

DATE OF BIRTH:

SOCIAL SECURITY NUMBER:

HEIGHT:                      WEIGHT:

SEX:                         RACE:

HAIR:                        EYES:

SCARS,TATTOOS,OTHER DISTINGUISHING MARKS:

FBI NUMBER:

COMPLETE DESCRIPTION OF AUTO:

INVESTIGATIVE AGENCY AND ADDRESS:
